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FILED VIA ECF AND THUS SERVED ON ALL COUNSEL OF RECORD

The Honorable Rebecca R. Pallmeyer
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street, Chambers 2146
Chicago, IL 60604

Re:    Third Update on Proceedings in Europe Related to U.S. v. Firtash, No. 13 CR 515

Dear Judge Pallmeyer:

I write to provide you a third update on proceedings in Europe related to United States. v. Dmitry Firtash,
Andras Knopp et al.

I last wrote on March 16, 2018 (in a letter filed via ECF, Docket No. 57) to inform the Court that, on
March 20, 2018, the Court of Justice of the European Union would hear a case on the applicability of the
EU Charter on Human Rights to extraordinary appeal proceedings in the Austrian Supreme Court in a
case known as “XC and Others.” (Id.) I explained that Mr. Firtash’s Austrian lawyers believed that once
the Court of Justice of the European Union issues a preliminary ruling in XC and Others and the Austrian
Supreme Court receives that ruling, the Austrian Supreme Court could make a swift decision confirming
Mr. Firtash’s extradition to the United States or granting a retrial. (Id.)

The XC and Others case was heard on March 20, 2018. One of Mr. Firtash’s Austrian lawyers attended
the hearing and told me that, at the end of the hearing, an Advocate General announced that he would
deliver his opinion on the matter on June 5, 2018. Soon thereafter, the Court of Justice of the European
Union will issue its final written decision. Thus, the final written decision in the case of XC and Others
could issue any time after June 5, 2018.

Consistent with my last letter, Mr. Firtash’s Austrian lawyers still believe that once the Court of Justice
of the European Union rules in XC and Others and the Austrian Supreme Court receives that ruling, the
Austrian Supreme Court could then make a swift decision on Mr. Firtash’s case. Again, while it remains
impossible to predict with complete accuracy, Mr. Firtash’s Austrian lawyers believe that the Austrian
Supreme Court will move quickly.

I will continue to update the Court with any information I receive regarding Mr. Firtash’s extradition
proceedings in Austria.
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